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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
              Plaintiffs,
        v.
                                                       CASE NO. 1:20-CV-484-LO-TCB
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN WATSON;
   STERLING NCP FF, LLC; MANASSAS NCP FF, LLC;
   NSIPI ADMINISTRATIVE MANAGER; NOVA WPC
   LLC; WHITE PEAKS CAPITAL LLC; VILLANOVA
   TRUST; CASEY KIRSCHNER; ALLCORE
   DEVELOPMENT LLC; FINBRIT HOLDINGS LLC;
   CHESHIRE VENTURES LLC; CARLETON NELSON;
   JOHN DOES 1-20,
              Defendants.

   800 HOYT LLC,
              Intervening Interpleader Plaintiff /
              Intervening Interpleader Counter-
              Defendant,
        v.
   BRIAN WATSON; WDC HOLDINGS, LLC; BW
   HOLDINGS, LLC,
              Interpleader Defendants,
        and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
              Interpleader Defendants / Interpleader
              Counter-Plaintiffs.


              NOTICE OF HEARING REGARDING BRIAN WATSON’S
                      MOTION TO COMPEL DISCOVERY




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         PLEASE TAKE NOTICE that on Friday, February 18, 2022, at 10:00 a.m., or as soon

  thereafter as the matter may be heard, counsel for Brian Watson will present argument before this

  Court on the Motion to Compel Discovery.



  Dated: February 11, 2022                            Respectfully submitted,

                                                      /s/ Jeffrey R. Hamlin            .
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                                                      Commercial Partners, Sterling NCP FF,
                                                      LLC, Manassas NCP FF, LLC, and NSIPI
                                                      Administrative Manager




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